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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

THE HOMESOURCE, CORP.
                                                No:
                                                           Case No. 1:18-cv-11970
                       Plaintiff,

         vs.

RETAILER WEB SERVICES, LLC and
JOHN DOES 1-3,

                      Defendants.


                               FIRST AMENDED COMPLAINT

         1.    Plaintiff The HomeSource, Corp. (“HomeSource”) hereby amends its Complaint

as of right pursuant to Federal Rule of Civil Procedure 15(a)(1)(B) to assert additional claims

against defendant John Does 1-3. HomeSource does not yet know the identity of John Does 1-3

(or whether they share the same identity), but will seek this information through discovery.

         2.    HomeSource filed its initial complaint against defendant Retailer Web Services,

LLC (“RWS”) for false advertising, defamation, tortious interference with commercial

relationships, and unfair competition. Both HomeSource and RWS provide competitive

technology services, including but not limited to operating websites for the same types of retail

store customers.

         3.    In late 2017, HomeSource launched a product that directly competes with RWS’s

product and began to quickly acquire RWS customers. On July 16, 2018, for example,

HomeSource moved approximately 200 customers from RWS’s platform to HomeSource’s

platform.

         4.    The same day, RWS began a smear campaign designed to unfairly disparage

HomeSource and deceive its customers. RWS published false and misleading statements about


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HomeSource in newsletters distributed via email over the next few days to HomeSource’s

customers and potential customers. RWS further contacted HomeSource’s customers and

potential customers by telephone regarding the same issues.

         5.     On or about July 19, 2018, RWS misrepresented security vulnerabilities of

HomeSource’s data and intellectual property to third parties. RWS emailed HomeSource notice

of a “security hole” in HomeSource’s software at 11:59 p.m., and then uploaded a video at 1:33

a.m. just hours later advertising the “security hole” to the public.

         6.     On July 20, 2018, RWS sent out the newsletter attached as Exhibit A to the

parties’ customers and potential customers. This lawsuit followed on July 23.

         7.     Beginning on or about August 9, 2018, John Doe 1 (hereinafter referred to as

“Cyber-Attack Doe”), engaged in a series of denial of service (“DoS”) and/or distributed denial

of service (“DDoS”) attacks on HomeSource’s customers’ websites, in an apparent effort to slow

down, interrupt, and/or crash those websites.

         8.     HomeSource was able to successfully block these attacks within a few days.

         9.     Immediately thereafter (after the close of business on August 13), John Doe 2

(hereinafter referred to as “Hacking Doe”) attempted to “hack” into HomeSource’s platform, or

to gain unauthorized access to HomeSource’s customer data. On August 13, 2018, at 9:02 pm,

RWS’s CEO, Jim Kane, sent HomeSource an email notifying HomeSource of the hacking

attempt, stating:

         “We have observed that the following websites...which we believe to be operated by

         HomeSource, appear to have been compromised by a third party (see attached screen

         shots). We wanted to let you know as a professional courtesy in case any customer

         information has been compromised.”



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         10.   Hacking Doe’s attack occurred the night before HomeSource had a meeting to

show a new potential customer (and current large customer of RWS) its platform.

         11.   The only HomeSource customers targeted by Hacking Doe appear to be

HomeSource customers that are former RWS customers. HomeSource possesses evidence that

Hacking Doe was working from a specific, non-public list of former RWS customers.

         12.   To complete the attack, Hacking Doe manually entered information that was only

available to RWS and HomeSource. Specifically, Hacking Doe entered in the website addresses

and IP addresses of customers that had switched from RWS to HomeSource, even where that

information was not publicly available.

         13.   On or about August 18, 2018, HomeSource was notified that John Doe 3

(hereinafter “Fake-Customer Doe”) was sending emails to HomeSource’s customers

complaining about HomeSource’s website functionality. A copy of one such email (from

misc@aol.com) is attached hereto as Exhibit B.

         14.   Following the receipt of the email attached hereto as Exhibit B, HomeSource

investigated the Internet activity of Fake-Customer Doe and uncovered evidence that Fake-

Customer Doe’s claims in Exhibit B are false. HomeSource also uncovered that Fake-Customer

Doe went to great lengths to hide its digital fingerprints – something a normal consumer would

ordinarily not do or know how to do.

         15.   On or about August 27, 2018, Cyber-Attack Doe launched another set of DoS

and/or DDoS attacks through the use of bots, using a different method.

         16.   HomeSource also shut down these attacks, using a different method.

         17.   In doing so, and as set forth more fully below, HomeSource observed an

exponentially disproportionate amount of website traffic coming from Scottsdale, Arizona. This



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traffic originated from the location set forth in Exhibit C, which appears to be within a mile of

RWS’s office.

         18.    HomeSource brings this first amended complaint against Cyber-Attack Doe and

Hacking Doe for tortious interference with commercial relationships and violations of the

Computer Fraud and Abuse Act (“CFAA”), 18 U.S.C. § 1030. HomeSource asserts an

additional claim for tortious interference with commercial relationships against Fake-Customer

Doe.

         19.    As a result of RWS’s and John Doe 1-3’s unlawful actions, HomeSource has lost

customers and its reputation has been unfairly damaged in an amount to be determined at trial.

                                            PARTIES

         20.    Plaintiff HomeSource is a New Jersey corporation with its principal place of

business at 420 Ganttown Road, Sewell, NJ 08080.

         21.    Defendant RWS is an Arizona limited liability company with a principal place of

business at 15615 N. 71ST Street, Suite 205, Scottsdale, AZ 85254.

         22.    Defendant RWS’s statutory registered agent is: Kingsley Law Firm PLC, 14362

N. Frank Lloyd Wright BLVD, #1000, Scottsdale, AZ 85260.

         23.    At this time, HomeSource does not know the identity of the defendant Does.

When that information is known, HomeSource will amend its pleading to identify that

person/entity and any other person/entity associated with that person.

         24.    HomeSource attempted to “trace” the location of the defendant Does without the

benefit of any discovery by analyzing the volume and origin of all web traffic since RWS sent

the newsletter and emails in mid July 2018.

         25.    HomeSource uncovered over 114,000 requests to access/search their customers’

websites from Arizona, and approximately 38,000 requests within a mile of RWS’s main office.

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         26.   On average, many of HomeSource’s customers’ websites see 150-300 users per

day.

         27.   HomeSource does not have any information yet confirming the location of

Hacking Doe or Fake-Customer Doe.

                                 JURISDICTION AND VENUE

         28.   This Court has federal question jurisdiction over HomeSource’s federal claims

pursuant to 28 U.S.C. §§ 1331, 1338(a).

         29.   This court has personal jurisdiction over defendant RWS because RWS is

engaged in the systematic and continuous conduct of business in the State of New Jersey.

RWS’s conduct in connection with the State of New Jersey required it reasonably to anticipate

that it would be subject to the jurisdiction of the courts in the State of New Jersey.

         30.   Upon information and belief, this court has personal jurisdiction over defendant

Does because Does expressly aimed tortious conduct at HomeSource, a New Jersey corporation,

via the internet such that defendant Does could reasonably anticipate being haled into district

court in New Jersey due to their tortious conduct.

         31.   Venue in the District of New Jersey is proper under 28 U.S.C. § 1391.

                                  FACTUAL BACKGROUND

A.       HomeSource and RWS

         32.   HomeSource provides software and data solutions for retailers and manufacturers.

         33.   HomeSource’s proprietary software aggregates large amounts of data – including

item numbers, product specs, training videos, and more – into one single, usable platform, which

allows retailers and manufacturers to streamline various processes such as printing customized

quotes, providing accurate shipping times, and real-time updating of sizes, colors, and options so

dealers always have current and accurate information at their fingertips.

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         34.   Upon information and belief, RWS offers a competitive tool called

“RetailDeck/WebFronts.”

         35.   Recently, GridIron Capital (“GridIron”), and its subsidiary Nationwide Marketing

Group (“Nationwide”), considered investing in HomeSource, and all three parties entered into a

non-disclosure agreement (“NDA”).

         36.   Through the due diligence process, GridIron and Nationwide acquired a great deal

of sensitive, proprietary information about HomeSource, its software, financial reports, and legal

history.

         37.   GridIron and Nationwide ended up not investing in HomeSource, but they did

invest in RWS, according to a press release from February 24, 2018.

         38.   Recently, several companies, including Appliance Dealers Cooperative (“ADC”)

and its members, have switched from using RWS’s “RetailDeck/WebFronts” platform to using

HomeSource’s platform.

B.       RWS’s False and Misleading Advertising and Tortious Interference

         39.   On or about July 20, 2018, RWS’s CEO Jim Kane and COO Jennie Gilbert

emailed a newsletter to HomeSource’s customers and potential customers which contained

materially false and misleading statements about HomeSource. See July 20th Newsletter,

attached as Exhibit A.

         40.   Under the heading, “Has HomeSource ever done anything like this before?”,

RWS stated, “The White family, owners of HomeSource and similar other businesses, appear to

have a history of their business relationships ending in lawsuits against them. They were found

guilty of making negligent misrepresentations about the capabilities of their software in a

federal lawsuit (Civil Action NO. 3:12-CV-0090).”



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         41.   The text “Civil Action NO. 3:12-CV-0090” contains a hyperlink to Judge Graham

Mullen’s Order (“Graham Order”) on a motion for attorney’s fees in the case of Furniture

Distributors, Inc. v. Software Support-PMW, Inc. (“Furniture Lawsuit”).

         42.   HomeSource was not a party in the Furniture Lawsuit and was not found “guilty”

of making negligent misrepresentations about the capability of their software.

         43.   No member of the White family was a party in the Furniture Lawsuit, and no

member of the White family was found “guilty” of making negligent misrepresentations about

the capability of their software.

         44.   RWS further misrepresented: “The judge later deemed the counter-claims they

alleged along the way ‘totally meritless’ and ordered them to pay Furniture Distributors, Inc.

fifty thousand dollars to reimburse attorney fees in addition to the four hundred fifty thousand

dollars already awarded them at trial.”

         45.   RWS’s use of “they” implies that HomeSource and the White family filed these

counterclaims, but once again, they were not parties to the lawsuit, and it was actually Software

Support-PMW, Inc. who filed these counterclaims in the action.

         46.   The Graham Order does not mention HomeSource or the White family at all.

         47.   RWS’s newsletter misleadingly and falsely implies that HomeSource and/or its

owners were found “guilty” of negligent misrepresentations, but they are not even parties to this

lawsuit, and the Graham Order deals with a motion for attorney’s fees.

         48.   RWS goes on to state in the newsletter: “Despite the ruling, Furniture

Distributors Inc sued Homesource again when Homesource failed to make any of the

payments ordered (Case 3:15-CV-00313).”

         49.   The text “Case 3:15-CV-00313” contains a hyperlink to a Complaint filed in the

United States District Court for the Western District of North Carolina, Furniture Distributors,

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Inc. v. James R. White, Jr.; James R. White, Sr.; Phyllis M. White; Gregory L. White; Courtney

Murnane; Software-Support PMW, Inc.; The Homesource, Corp.; BBJ Corp., and Centerspec,

LLC.

         50.   RWS falsely states that HomeSource was sued for a second time by Furniture

Distributors, Inc., but HomeSource was not a party to the original Furniture Lawsuit.

         51.   RWS falsely states that HomeSource failed to make any of the payments ordered,

but HomeSource was not ordered to make any payments and it was not a party to the prior

lawsuit.

         52.   RWS misrepresented that HomeSource failed to make payments in order to

intentionally disparage HomeSource’s business and damages its relationship with its customers

and potential customers.

         53.   RWS further misrepresented that Martin Salas was a consultant hired by

HomeSource, but HomeSource never hired or entered into any contract with Martin Salas

directly.

         54.   Upon information and belief, after HomeSource filed the initial complaint in this

action, RWS continued to make false, misleading, and/or defamatory statements about

HomeSource to HomeSource’s customers, potential customers, and third parties.

C.       RWS Misrepresented Security Vulnerabilities and Tried to Pose as a Customer to
         Acquire Access to HomeSource’s Systems

         55.   On July 19, 2018, at 11:58 p.m., Jim Kane, CEO of RWS, emailed HomeSource

and Ken Miele, of ADC, to point out a potential security hole and vulnerability in HomeSource’s

systems.




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         56.   Less than two hours later, RWS emailed the July 20th Newsletter to

HomeSource’s customers which states: “Our investigation unearthed a possible major security

concern with HomeSource sites.” See Exhibit A.

         57.   The July 20th Newsletter contained a link to a short video where Jim Kane

explains how he believes one could hack into HomeSource’s system, and he provides the steps

one could take in order to do it.

         58.   The video misrepresents the security of customers’ files and alleges that they are

publicly available, when in fact, HomeSource does not store customer information in this

“bucket” or online folder.

         59.   Upon information and belief, an employee at RWS left a voicemail for

HomeSource in which he posed as a potential customer named Tony Bosco, who claimed to be

opening a store for furniture and appliances called Kensington Appliance and Furniture, in order

to deceive HomeSource and gain access to their data and methods.

         60.   Upon information and belief, although “Tony Bosco” alleged that he was from the

suburbs of Pittsburgh, his phone number traced back to an RWS number.

D.       Cyber-Attack Doe Launched DoS and/or DDoS Attacks against HomeSource’s
         Customers’ Websites

         61.   In 2018, HomeSource moved hundreds of customers from RWS’s platform to

HomeSource’s platform.

         62.   These customers are predominantly local retailers that sell appliances, electronics,

and furniture through a brick and mortar store and a website.

         63.   HomeSource provides these customers with e-commerce solutions for their

websites through its pricing-lookup tool and software.




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          64.   Upon information and belief, RWS has delayed and/or ignored requests from

 RWS’s former/current customers to have their domains released so they can be transferred to

 HomeSource’s platform.

          65.   Beginning in August 2018, Cyber-Attack Doe deployed several DoS and DDoS

 attacks through the use of bots and/or programs that only targeted HomeSource’s customers who

 also used to be customers of RWS.

          66.   In these DoS and DDoS attacks, the bots and/or programs would continually view

 the websites and run hundreds and thousands of searches in an effort to overload HomeSource’s

 computer systems and software and crash the websites.

          67.   Upon information and belief, HomeSource has reason to believe that Cyber-

 Attack Doe’s attacks were and are coming out of Scottsdale, Arizona, the same location as

 defendant RWS, due to the exponentially disproportionate volume of traffic coming out of the

 location.

          68.   Cyber-Attack Doe hid its operating system, browser, and many parts of its digital

 fingerprint when launching the attacks in order to conceal its identity.

          69.   Cyber-Attack Doe also deployed bots which are programmed to continually send

 hundreds and thousands of requests for service upon a single website in order to crash it, or at the

 very least, severely slow it down for other consumers trying to use the site.

          70.   Cyber-Attack Doe has launched thousands of DoS and/or DDoS attacks against

 HomeSource’s customers since the beginning of August 2018.

          71.   The only HomeSource customers that have been victimized by these attacks were

 all former customers of RWS, as HomeSource’s remaining customers were not targeted.




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   Count I – False and Misleading Advertising under the Lanham Act, 15 U.S.C. § 1125 (a)
                                  against Defendant RWS

          72.    HomeSource repeats and incorporates all other paragraphs of this Complaint as if

 fully set forth herein.

          73.    Section 1125(a) of Title 15 of the United States Code states, in pertinent part, the

 following:

          Any person who, on or in connection with any good or services, … uses in
          commerce any word, term, name, symbol, … or any false designation of origin,
          false or misleading description of fact, or false or misleading representation of
          fact… which – in commercial advertising or promotion, misrepresents the nature,
          characteristics, qualities… of another person’s goods, services, or commercial
          activities, shall be liable in a civil action by any person who believes that he or
          she is or is likely to be damaged by such act.

          74.    RWS’s use of “HomeSource” in connection with materially false and misleading

 statements about HomeSource’s reputation, legal history, security, and the quality of its goods

 and services, constitutes commercial advertising that misrepresents the nature, characteristics,

 and qualities of HomeSource’s goods, services, and commercial activities.

          75.    RWS’s conduct in disseminating emails and newsletters and placing phone calls

 to HomeSource’s customers and potential customers with materially false and misleading

 statements about HomeSource constitutes false advertising and unfair competition.

          76.    RWS’s conduct constitutes false and misleading advertising in violation of 15

 U.S.C. § 1125(a).

          77.    HomeSource has no adequate remedy at law. RWS’s conduct has caused, and if

 not enjoined, will continue to cause irreparable damage to the rights of HomeSource, its brand,

 reputation and goodwill.

          78.    As a result of RWS’s conduct, HomeSource has been damaged.




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                         Count II – Defamation against Defendant RWS

          79.    HomeSource repeats and incorporates each paragraph of this Complaint as if set

 forth fully herein.

          80.    By engaging in the above-described conduct, RWS defamed HomeSource

 including, without limitation, by directly publishing and distributing emails and newsletters that

 deliberately, or at the very least negligently, (i) contain statements that are defamatory in nature

 and character; (ii) were published and disseminated by RWS to third parties, including

 HomeSource’s customers and potential customers; (iii) were understood by their recipients to

 apply to HomeSource and to be defamatory; and (iv) caused special harm to HomeSource by

 virtue of such publications.

          81.    RWS’s statements contained in the emails and newsletters impute both civil

 offenses and business and professional misconduct to HomeSource – including, but not limited

 to, allegations that HomeSource was found liable of negligent misrepresentation and allegations

 that HomeSource failed to pay a prior customer despite a court order.

          82.    RWS’s statements contained in the emails and newsletters are the kind that would

 be particularly harmful to a business involved in e-commerce.

          83.    The statements contained in the emails and newsletters have caused and will

 continue to cause substantial pecuniary and reputational harm to HomeSource.

          84.    As a result, RWS is liable to HomeSource for damages caused by RWS’s

 conduct.

 Count III – Tortious Interference with Prospective Economic Advantage against Defendant
                                           RWS

          85.    HomeSource repeats and incorporates each paragraph of this Complaint as if set

 forth fully herein.


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          86.     HomeSource had a protected interest in its reasonable expectation of economic

 advantage, as it relates to HomeSource’s prospective economic interests with potential customers

 of its goods/services.

          87.     RWS willfully, maliciously, and intentionally interfered with HomeSource’s

 prospective economic advantage by publishing materially false and misleading statements about

 HomeSource in newsletters and emails that RWS sent to HomeSource’s potential customers,

 customers, and its customers’ buyers.

          88.     RWS’s conduct was without justification.

          89.     There is a reasonable likelihood that RWS’s conduct caused HomeSource a loss

 of prospective economic gain.

          90.     As a direct and proximate result of RWS’s conduct, HomeSource has been and

 continues to be damaged.

          91.     By reason of the foregoing, HomeSource is entitled to injunctive relief, treble

 damages, attorneys’ fees and costs, and further relief as the Court deems just and proper.

              Count IV – Tortious Interference with Contract against Defendant RWS

          92.     HomeSource repeats and incorporates each paragraph of this Complaint as if set

 forth fully herein.

          93.     RWS was fully aware of the contractual relationship existing between

 HomeSource’s customers and HomeSource, including the fact that a valid and enforceable

 contract existed between these parties, and RWS was a not a party to this contractual

 relationship.

          94.     RWS willfully and intentionally interfered with the contractual relationship by

 publishing materially false and misleading statements about HomeSource in newsletters and

 emails that RWS sent to HomeSource’s customers, and its customers’ buyers.

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          95.    RWS’s conduct is without justification.

          96.    As a direct and proximate result of RWS’s conduct, HomeSource has been and

 continues to be damaged.

          97.    By reason of the foregoing, HomeSource is entitled to injunctive relief, treble

 damages, attorneys’ fees and costs, and further relief as the Court deems just and proper.

      Count V – Common Law and Federal Unfair Competition against Defendant RWS

          98.    HomeSource repeats and incorporates each paragraph of this Complaint as if set

 forth fully herein.

          99.    RWS’s conduct constitutes unfair competition, in that RWS is attempting to

 benefit commercially by stealing HomeSource’s customers and publishing materially false and

 misleading statements about HomeSource.

          100.   RWS’s wrongful conduct arises directly out of and is connected to its advertising

 activities.

          101.   Such acts constitute unfair competition against HomeSource under 15 U.S.C. §

 1125.

          102.   HomeSource has been and continues to be damaged by RWS’s activities and

 conduct. Accordingly, HomeSource is entitled to recover its damages, pursuant to 15 U.S.C.

 §1117(a).

          103.   Unless RWS’s conduct is enjoined, HomeSource and its goodwill and reputation

 will suffer irreparable injury which cannot be adequately calculated or compensated solely by

 money damages.

          104.   By reason of the foregoing, HomeSource is entitled to injunctive relief, treble

 damages, attorneys’ fees and costs, and further relief as the Court deems just and proper.



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 Count VI – Violation of Computer Fraud and Abuse Act, 18 U.S.C. § 1030(a)(5)(A) against
      Defendant John Doe 1 (“Cyber-Attack Doe”) and John Doe 2 (“Hacking Doe”)

          105.   HomeSource repeats and incorporates each paragraph of this Complaint as if set

 forth fully herein.

          106.   Cyber-Attack Doe coordinated several DoS and DDoS attacks against

 HomeSource’s computers systems and HomeSource’s customers’ websites that were designed to

 interfere with interstate commerce by dramatically slowing down and/or crashing the websites.

          107.   Hacking Doe attempted to unlawfully and anonymously hack into HomeSource’s

 platform and obtain HomeSource’s customer data without authorization.

          108.   Through their conduct, Cyber-Attack Doe and Hacking Doe knowingly caused

 the transmission of a program, information, code, or command with the intent to cause damage,

 without authorization, to a protected computer system.

          109.   HomeSource’s computer system and customers’ websites are a protected

 computer under the CFAA because they are used in interstate commerce.

          110.   As a direct result of Cyber-Attack Doe’s and Hacking Doe’s conduct,

 HomeSource has suffered at least $5,000 in damages in the past year through analyzing,

 investigating, and responding to the hacking, DoS, and DDoS attacks.

          111.   By reason of the foregoing, HomeSource is entitled to injunctive relief, damages,

 attorneys’ fees and costs, and further relief as the Court deems just and proper.

  Count VII – Tortious Interference with Contract against Defendant John Doe 1 (“Cyber-
      Attack”), John Doe 2 (“Hacking Doe”) and John Doe 3 (“Fake Customer Doe”)

          112.   HomeSource repeats and incorporates each paragraph of this Complaint as if set

 forth fully herein.

          113.   Upon information and belief, the John Doe defendants were fully aware of the

 contractual relationship existing between HomeSource’s customers and HomeSource, including

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 the fact that a valid and enforceable contract existed between these parties, and the defendants

 were not a party to this contractual relationship.

           114.   Cyber-Attack Doe willfully and intentionally interfered with the contractual

 relationship by coordinating DoS and DDoS attacks against HomeSource’s customers’ websites

 that were designed to dramatically slow down and/or crash the websites, and designed to sever

 and/or interfere with the contractual relationship between HomeSource and its customers as a

 result.

           115.   Hacking Doe willfully and intentionally interfered with the customer relationship

 by attempting to unlawfully hack into HomeSource’s system and obtain and compromise

 customer data without authorization.

           116.   Fake-Customer Doe willfully and intentionally interfered with the customer

 relationship by disparaging HomeSource’s services to HomeSource’s customers (without any

 basis for doing so) and falsely holding himself out as a real customer.

           117.   The John Doe defendants’ conduct is without justification.

           118.   As a direct and proximate result of Does’ conduct, HomeSource has been and

 continues to be damaged.

           119.   By reason of the foregoing, HomeSource is entitled to injunctive relief, treble

 damages, attorneys’ fees and costs, and further relief as the Court deems just and proper.

           120.   HomeSource reserves its right to move to amend to assert additional claims for

 relief against John Does 1-3, based upon information as to their identity or identities, as

 discovery proceeds.

                                       PRAYER FOR RELIEF

           WHEREFORE, Plaintiff HomeSource prays for relief and judgment, and requests that the

 Court:

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          (A)       enter judgment against RWS and John Does 1-3 and in favor of HomeSource with

 respect to each claim for relief alleged in this Complaint;

          (B)       award HomeSource injunctive relief, treble damages and its costs and attorneys’

 fees, pursuant to the Lanham Act; and

              (C)   award such other and further relief as the Court deems just and proper.


                                                   Respectfully submitted,

                                                   FLASTER/GREENBERG P.C.


 Dated: September 4, 2018                    By: /s/ Alexis Arena
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